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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:17-CR-064 JAM
12                                Plaintiff,            STIPULATION CONTINUING FILING AND
                                                        HEARING DATES ON DEFENDANT’S
13                          v.                          DISCOVERY MOTION; [PROPOSED] ORDER
14   GARY ROBERTS,                                      DATE: June 4, 2018
                                                        TIME: 2:00 p.m.
15                               Defendant.             COURT: Hon. Carolyn K. Delaney
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous motion, this matter was set for hearing on June 4, 2018. Dkt. #107.

21          2.     By this stipulation, the parties now move to continue the discovery hearing to July 9,

22 2018. In addition, they stipulate that the government’s response to the defendant’s motion will be due

23 on June 25, 2018, and that the defendant’s reply will be due on July 2, 2018.

24          3.     This continuance will allow the government attorney to meet with the case agent and to

25 continue to investigate the availability of the discovery items that the defense has requested. Since

26 December 18, 2018, the defense has agreed to several previous extensions for the same reasons. During

27 the intervening time, the government has produced some of the requested items. Also during that time,

28 the defense has added several items to its discovery requests. Items that remain outstanding include:

      STIP. CONTINUING FILING AND HEARING DATES ON
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 1                a)        Any reports from Officer Lambert regarding his participation in the investigation,

 2        use of a canine, or arrest of the defendants.

 3                b)        Reports and recordings (including MVARS recordings) by Officers Lowry and

 4        Lambert regarding arrests described on Bates 198 and 302.

 5                c)        Equipment and maintenance records for the MVARS machines in the cruisers

 6        driven by Officers Lowry and Lambert

 7                d)        An in-camera review of the Lowry / Lambert MVARS machines for dates before

 8        and after July 28, 2016.

 9                e)        The operational plan for the July 28, 2016 arrests.

10                f)        Any documents or information relating to the location of the officers and agents

11        involved in the surveillance and arrest of the defendants on July 28, 2016. This includes reports

12        relating to the surveillance of Roberts from the time he left Rivera’s house to the time he was

13        pulled over by CHP.

14                g)        Any information about the agreement between DEA and CHP to coordinate

15        investigations.

16                h)        CHP protocols, procedures, training manuals, and guidelines regarding:

17                          1. Using MVARS equipment on or around July 28, 2016 and for storing,

18                             logging, maintaining, deleting records

19                          2. Mud flap vehicle code violations

20                          3. Tail light vehicle code violations

21                          4. Actions inconsistent with the motoring public

22                          5. Crossing a painted solid white line delineating a lane from the shoulder

23                          6. Identifying signs of intoxication and subsequent action

24                          7. Removing passengers from a vehicle during a traffic stop.

25                          8. Protocols for writing or recording information about surveillance activities

26                          9. Using a canine during a traffic stop or investigation and writing a report on

27                             this

28        4.      The defendant is out of custody. Dkt. #67.

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 1          5.     On May 4, 2017, the Grand Jury returned an indictment charging him with conspiring to

 2 distribute and to possess with intent to distribute methamphetamine, a violation of 21 U.S.C. §§ 846,

 3 841(a)(1). The Grand Jury also charged the defendant with possessing with intent to distribute

 4 methamphetamine, a violation of 21 U.S.C. § 841(a)(1). Dkt. #46.

 5          6.     The matter’s next status conference is set for June 26, 2018. Dkt. #105.

 6          IT IS SO STIPULATED.

 7
     Dated: May 18, 2018                                   McGREGOR W. SCOTT
 8                                                         United States Attorney
 9
                                                           /s/ AMANDA BECK
10                                                         AMANDA BECK
                                                           Assistant United States Attorney
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12
     Dated: May 18, 2018                                   /s/ ETAN ZAITSU
13                                                         ETAN ZAITSU
14                                                         Counsel for Defendant
                                                           GARY ROBERTS
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18                                 [PROPOSED] FINDINGS AND ORDER

19          IT IS SO FOUND AND ORDERED this 18th day of May, 2018.

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      STIP. CONTINUING FILING AND HEARING DATES ON
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      DEFENDANT’S DISCOVERY MOTION; [PROPOSED] ORDER
